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                IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION

YOUNG AMERICANS FOR
FREEDOM OF KENNESAW STATE
UNIVERSITY, and ZACHARAY
BOHANNON,                                     Case No. 1:18-cv-956-TWT

             Plaintiffs,

     v.

W. KEN HARMON, Interim President
of Kennesaw State University, in his
official capacity; et al.,

             Defendants.


                                     ORDER

      This action having come before the Court on the Defendants’ Consent

Motion for Extension of Time To Respond to Complaint, wherein Defendants

request an extension of time and Plaintiffs, through counsel, have consented to the

Motion,

      IT IS HEREBY ORDERED that the Motion is GRANTED and the time

for Defendants to answer or otherwise respond to the Complaint (Doc. 1) is

extended through and including October 3, 2018.




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                                      September
      ORDER ENTERED this 24th day of _________________, 2018.



                              /s/Thomas W. Thrash
                             HONORABLE THOMAS W. THRASH, JR.
                             UNITED STATES DISTRICT JUDGE
                             NORTHERN DISTRICT OF GEORGIA

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